      Case 4:18-cv-03918-YGR Document 147 Filed 12/03/20 Page 1 of 2



 1

 2

 3

 4

 5

 6

 7

 8

 9                           UNITED STATES DISTRICT COURT

10                         NORTHERN DISTRICT OF CALIFORNIA

11
     SPRAWLDEF, et al.,                     Case No. 18-cv-03918-YGR
12
                      Petitioners,
13                                          JUDGMENT
14         v.

15   CITY OF RICHMOND, et al.,               Judge: Hon. Yvonne González Rogers

16                    Respondents.

17

18

19

20

21

22

23

24

25

26

27

28

     JUDGMENT
       Case 4:18-cv-03918-YGR Document 147 Filed 12/03/20 Page 2 of 2



 1                                              JUDGMENT
 2          Pursuant to the Court’s order of November 20, 2020, in which the Court granted the
 3   motion of respondents Mayor Tom Butt, City of Richmond, and Richmond City Council
 4   (collectively, “the City”) for judgment on the pleadings as to the First Amended Petition without
 5   leave to amend, and denied the motion of petitioners Paul Carman, Citizens for East Shore Parks,
 6   James Hanson, SPRAWLDEF, Pamela Stello, and Tony Sustak (collectively, “Petitioners”) for
 7   leave to amend the First Amended Petition, the Court now renders judgment in favor of the City
 8   and co-respondents Upstream Point Molate LLC and The Guidiville Rancheria of California and
 9   against Petitioners on all claims asserted by Petitioners in their First Amended Petition.
10   Accordingly, the First Amended Petition for Writ of Mandate (Dkt. No. 32) is hereby dismissed
11   with prejudice.
12          Any party seeking an award of attorneys' fees must file their motion timely based on the
13   date of entry of this judgment and in accordance with the Local Rules.
14

15     IT IS SO ORDERED, ADJUDGED AND DECREED.
16
      December 3, 2020
17                                                  Hon. Yvonne Gonzalez Rogers
                                                    UNITED STATES DISTRICT JUDGE
18

19

20

21

22

23

24

25

26

27

28
